                   UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



 UNITED STATES OF AMERICA,

                Plaintiff,

           v.
                                               No. 1:24-cv-00710-
 CORTLAND MANAGEMENT, LLC,                     WLO-JLW

                Defendant.


         UNITED STATES’ UNOPPOSED MOTION AND MEMORANDUM
              IN SUPPORT OF ENTRY OF FINAL JUDGMENT

     Pursuant to Section 2(b) of the Antitrust Procedures and

Penalties Act, 15 U.S.C. § 16(b)-(h) (“APPA”), the United States

of America (“United States”) moves the Court to enter the

proposed Final Judgment filed in this civil antitrust proceeding

on January 7, 2025 (Doc. 49-1) (attached hereto as Exhibit A).

     The proposed Final Judgment may be entered at this time

without further proceedings if the Court determines that entry

is in the public interest. 15 U.S.C. § 16(e). The Competitive

Impact Statement (“CIS”) and the Response of the United States

to Public Comments on the Proposed Final Judgment (“Response to

Public Comments”) filed in this matter on January 23, 2025, and

May 1, 2025, respectively, (Doc. 63 and Doc. 140) explain why

entry of the proposed Final Judgment is in the public interest.

The United States is also filing a Certificate of Compliance




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(attached hereto as Exhibit B) showing that the United States

and Cortland Management, LLC, have complied with all applicable

provisions of the APPA and certifying that the United States has

satisfied the 60-day statutory public comment period

requirement.

I.     BACKGROUND

       On August 23, 2024, the United States and eight states

(“Plaintiffs”) filed a civil antitrust Complaint against

RealPage, Inc. (“RealPage”) (Doc. 1). On January 7, 2025,

Plaintiffs amended their civil Complaint (the “Complaint”) to

add Cortland Management, LLC (“Cortland”) and five other

landlords as Defendants (Doc. 47). The Complaint alleges that,

by unlawfully sharing its confidential and competitively

sensitive information with RealPage for use in its and competing

landlords’ pricing, and by adopting and using RealPage’s revenue

management software and agreeing with RealPage and competing

landlords to align their pricing, Cortland violated Section 1 of

the Sherman Act, 15 U.S.C. § 1.

       On the same day that Plaintiffs filed the Complaint against

Cortland, the United States also filed a proposed Final Judgment

and a Stipulation and proposed Order (Doc. 49 & 49-1). The

United States subsequently filed the CIS on January 23, 2025,

describing the events giving rise to the alleged violations and

the proposed Final Judgment. (Doc. 63.) The Stipulation and

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proposed Order, which was agreed to by the United States and

Cortland, provides that the proposed Final Judgment may be

entered by the Court once the requirements of the APPA have been

met. The proposed Final Judgment requires Cortland to end its

use of RealPage’s or other third-party revenue management

software or, in the alternative, requires the appointment of a

compliance monitor in the event Cortland chooses to use third-

party revenue management software; prohibits the use of certain

competitively sensitive data in Cortland’s own revenue

management software; and prohibits Cortland from sharing

competitively sensitive information with other landlords. It

also requires Cortland to establish an antitrust compliance

policy and cooperate with the United States in this litigation.

Entry of the proposed Final Judgment will terminate this action

as against Cortland, except that the Court will retain

jurisdiction to construe, modify, or enforce the provisions of

the Final Judgment and to punish violations thereof.

II.   COMPLIANCE WITH THE APPA

      The Certificate of Compliance filed with this Motion and

Memorandum certifies that all the requirements of the APPA have

been satisfied. In particular, the APPA requires a period of at

least 60 days for the submission of written comments relating to

the proposed Final Judgment. 15 U.S.C. § 16(b). In compliance

with the APPA, the United States filed the proposed Final

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Judgment and the CIS with the Court on January 7 and January 23,

2025, respectively; published the proposed Final Judgment and

CIS in the Federal Register on January 30, 2025 (see 90 Fed.

Reg. 8560 (2025)); and caused a summary of the terms of the

proposed Final Judgment and the CIS, along with directions for

the submission of written comments, to be published for a period

of seven days in the Washington Post from January 29 to February

4, 2025, and in the Greensboro News and Record from January 29

to February 3, 2025, and on March 1, 2025. The United States

received one comment. Pursuant to 15 U.S.C. § 16(d), the United

States filed a Response to Public Comments on May 1, 2025 (Doc.

140) and published it and the public comment in the Federal

Register on May 14, 2025, 90 Fed. Reg. 20501 (2025).

III. STANDARD OF JUDICIAL REVIEW

     Before entering the proposed Final Judgment, the APPA

requires the Court to determine whether the proposed Final

Judgment “is in the public interest.” 15 U.S.C. § 16(e)(1). In

making that determination, the Court, in accordance with the

statute as amended in 2004, “shall consider”:

     (A)   the competitive impact of such judgment,
           including termination of alleged violations,
           provisions for enforcement and modification,
           duration of relief sought, anticipated effects of
           alternative remedies actually considered, whether
           its terms are ambiguous, and any other
           competitive considerations bearing upon the
           adequacy of such judgment that the court deems


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            necessary to a determination of whether the
            consent judgment is in the public interest; and

      (B)   the impact of entry of such judgment upon
            competition in the relevant market or markets,
            upon the public generally and individuals
            alleging specific injury from the violations set
            forth in the complaint including consideration of
            the public benefit, if any, to be derived from a
            determination of the issues at trial.

15 U.S.C. § 16(e)(1)(A), (B). Section 16(e)(2) of the APPA

states that “[n]othing in this section shall be construed to

require the court to conduct an evidentiary hearing or to

require the court to permit anyone to intervene.” 15 U.S.C. §

16(e)(2). In its CIS and Response to Public Comments, the United

States explained the meaning and the proper application of the

public interest standard under the APPA to this case and now

incorporates those statements by reference.

IV.   ENTRY OF THE PROPOSED FINAL JUDGEMENT IS IN THE PUBLIC
      INTEREST

      Plaintiffs alleged in their Complaint that, by unlawfully

sharing its confidential and competitively sensitive information

with RealPage for use in its and competing landlords’ pricing,

and by adopting and using RealPage’s revenue management software

and agreeing with RealPage and competing landlords to align

their pricing, Cortland violated Section 1 of the Sherman Act,

15 U.S.C. § 1. As explained in the CIS and the Response to Public

Comments, the proposed Final Judgment is designed to eliminate

the anticompetitive effects of Cortland’s conduct alleged by

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Plaintiffs by requiring Cortland to end its use of RealPage or

other third-party revenue management software or, in the

alternative, requiring the appointment of a compliance monitor

in the event Cortland chooses to use third-party revenue

management software; prohibiting the use of certain

competitively sensitive data in Cortland’s own revenue

management software; and prohibiting Cortland from sharing

competitively sensitive information with other landlords.

Cortland must also establish an antitrust compliance policy and

cooperate with the United States in this litigation. The public,

including affected competitors and customers, has had the

opportunity to comment on the proposed Final Judgment. As

explained in the CIS and the Response to Public Comments, entry

of the proposed Final Judgment is in the public interest.

V.     CONCLUSION

       For the reasons set forth in this Motion and Memorandum,

the CIS, and the Response to Public Comments, the United States

respectfully requests that the Court find that the proposed

Final Judgment is in the public interest and enter the proposed

Final Judgment.




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Dated: June 10, 2025                    Respectfully submitted,

                                     By:     /s/ Henry c. Su

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